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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE


 CROSSPOINT CHURCH,                            )
                                               )
                     Plaintiff,                )
                                               )
                v.                             )       No. 1:23-cv-00146-JAW
                                               )
 A. PENDER MAKIN, in her                       )
 official capacity as Commissioner of          )
 the Maine Department of Education, et al.,    )
                                               )
                     Defendants.               )

       JOINT MOTION IN RESPONSE TO COURT’S ORDER ON JOINT MOTION
           TO CONVERT ORDER ON PRELIMINARY INJUNCTION INTO
       ORDER ON PERMANENT INJUNCTION AND ENTER FINAL JUDGMENT

       On March 28, 2024, the parties filed a joint motion asking the Court to convert its order on

preliminary injunction (ECF No. 41) into an order on permanent injunction and to enter final

judgment. ECF No. 43. With that joint motion, the parties submitted a joint stipulation of facts to

be included as part of the record for appellate review. ECF No. 44. Some of the stipulated evidence

was not part of the record the Court had before it when it issued its preliminary injunction order,

although it was part of the record in Carson v. Makin, No. 1:18-cv-327, which was cited in the

preliminary injunction proceedings. In its April 1, 2024 order on the parties’ joint motion, the Court

questioned the extent to which it can convert its preliminary injunction order into a final judgment

without considering the newly-submitted evidence. ECF No. 45.

       In the parties’ view, the additional evidence the parties seek to include in the record is

background information that will not materially impact the Court’s thorough legal analysis or its

ruling on the preliminary injunction motion. In its April 1 order, the Court identified three documents

in particular that were not part of the record: Bangor Christian School’s application for admission,

the Hasson interrogatory answers, and the Cardigan Mountain School correspondence. ECF 45 at 2.
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While not attached as exhibits, Plaintiff cited to both the Hasson interrogatory answers and the

Cardigan Mountain School correspondence in its motion for preliminary injunction. See ECF No. 5

at 4 (citing the stipulated record in Carson v. Makin, No. 1:18-cv-327, ECF No. 24, Ex. 2 at 17-18

(Cardigan Mountain school correspondence) and Ex. 3 at 3-4 (interrogatory responses from

Education Commissioner Hasson)). The parties seek to include these documents in the record simply

for purposes of appellate review and do not anticipate it would change the outcome of this Court’s

legal analysis. It is possible that the appellate court may analyze the legal issues differently than this

Court, and those exhibits may be relevant to that analysis. In Carson, for example, the First Circuit

expressly referenced the Hasson interrogatories in its opinion. See Carson v. Makin, 979 F.3d 21, 38

(1st Cir. 2020). At bottom, to ensure full appellate review and avoid possible remand, the parties

seek to ensure that all potentially relevant evidence is included in the record.

       Accordingly, the parties respectfully request that the Court accept into the record the joint

stipulation of facts (along with attached exhibits) and, if the Court agrees that the new evidence is

not material to its preliminary injunction order, convert that order into an order on permanent

injunction and enter final judgment. If the Court believes further briefing on a permanent injunction

is required, the parties will respond accordingly.

Date: April 24, 2024                                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

       I certify that on April 24, 2024, I electronically filed the foregoing with the Court and

served it on opposing counsel through the Court’s CM/ECF system.



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